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_________________________________________________________________________________

                                                      SO ORDERED,



                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF MISSISSIPPI

IN RE: WESLEY L BAILEY dba P&B LOGGING, LLC dba LOG’AN HAUL, LLC
       dba MIDSOUTH LOG & PULP LLC dba NORTH MS TIMBER HARVESTING, LLC
       dba LOGAN BAILEY CONSTRUCTION, LLC
       aka LOGAN BAILEY                                         DEBTOR(S)
                                                     CASE NO. 19-10350-JDW
                                                               CHAPTER 13
FORD MOTOR CREDIT COMPANY LLC                                    CREDITOR

   ORDER ON OBJECTION TO CONFIRMATION AND ORDER AMENDING PLAN

         THIS DAY this case came on for consideration of the Objection to Confirmation (#15)
filed by Ford Motor Credit Company LLC (FMCC), and it appears that interested parties have
resolved this objection and that they have consented to the entry of this order.
         IT IS, THEREFORE, ORDERED that the Chapter 13 Plan of Debtors be, and it is hereby,
amended so as to provide that FMCC shall be paid the sum of $15,946.94, plus 6.75% interest on
its claim covering a 2014 Ford F250 vehicle, and the Trustee is directed to amend the wage order
accordingly.
         IT IS FURTHER ORDERED that the lien on said vehicle shall survive until Debtors
receive a discharge and that no title documents shall be delivered until such time.
                                         ## END OF ORDER ##


APPROVED:


 /s/ Olivia Spencer                                  /s/ Karen B. Schneller
 Olivia Spencer, Attorney for Creditor               Karen B. Schneller, Attorney for Debtor(s)
 King & Spencer, PLLC                                P.O. Box 417
 Post Office Box 123                                 Holly Springs, MS 38635
 Jackson, Ms 39205                                   (662) 252-3224 / MB # 6558 / karen.schneller@gmail.com
 (601) 948-1547 / MB #104439
 /spencer@kingandspencer.net

 /s/ W. Jeffrey Collier
 Locke D. Barkley, Trustee
